                            Case 2:08-cr-00376-WBS Document 495 Filed 05/08/13 Page 1 of 1


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                      8                                   UNITED STATES DISTRICT COURT
                      9                                   EASTERN DISTRICT OF CALIFORNIA
                     10
                          UNITED STATES OF AMERICA,                       CASE NO. 2:08-CR-00376-WBS
                     11
                                             Plaintiff,                   ORDER
                     12
                                  v.
                     13
                          SHANE BURRESON,
                     14
                                             Defendant.
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                                  Whereas on August 10, 2012, defendant Shane Burreson was sentenced in this case to 23
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                          months in prison and whereas he is currently serving his sentence, and whereas the Clerk of the
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                          Court has delivered Mr. Burreson’s passport to the U.S. Department of State, Office of Passport
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                          Policy & Advisory Services, it is hereby ordered that bond is exonerated and that the U.S.
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                          Department of State, Office of Passport Policy & Advisory Services, is authorized to return Mr.
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                          Burreson’s passport to Mr. Burreson or his attorney.
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                                  IT IS SO ORDERED.
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                          Dated: May 8, 2013
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DLA P IPER LLP (US)
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    SACRA M E NT O        WEST\240987170.1                                                              [PROPOSED] ORDER
